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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

 STATE OF OHIO,                           :    Case No. 3:25-cv-00021

              Plaintiff,                  :    Judge

       v.                                 :

 WILLIAM J. BROCK                         :

              Defendant.                  :



                             NOTICE OF REMOVAL


      Special Agent in Charge Elena Iatarola, in her official capacity as an officer

of the Federal Bureau of Investigation (“FBI”), a component of the United States

Department of Justice (“DOJ”), files this Notice of Removal to notify the Court as

follows:

   1. This Notice of Removal is filed under 28 U.S.C. §§ 1442(a)(1) to remove a

proceeding related to the Show Cause Order and Notice issued in the state-court

criminal proceeding captioned State of Ohio v. William J. Brock, Case No. 2024 CR

0278, pending before the Clark County Court of Common Pleas in Springfield, Ohio

(hereinafter “state-court criminal proceeding”). The docket of the state-court

criminal proceeding is attached as Exhibit A. The Show Cause Order is attached as

Exhibit B. The Show Cause Order seeks to compel the FBI “Resident Agent in

charge” to appear and explain why the Agent should not be held in contempt for not

complying with the state court’s subpoena duces tecum.
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   2. On August 22, 2024, prior to the entry of the Show Cause Order, Defendant

William J. Brock, through counsel, attempted to serve the above-referenced

subpoena on FBI. Defendant failed, however, to serve the subpoena on the U.S.

Attorney as required by DOJ’s regulations promulgated under Touhy v. Ragen, 340

U.S. 462 (1951). It appears from the subpoena and return of service filed in the

state-court criminal proceeding that Defendant instead attempted to serve FBI at

an office within the Walter H. Rice Federal Building and United States Courthouse.

Notwithstanding the fact that Defendant could not perfect service by serving a field

office of FBI, the FBI does not reside at the address listed on the subpoena, and FBI

thus lacked actual notice of the subpoena. Additionally, the subpoena was not

directed to a specific officer of FBI. The Return of Service of Subpoena that

Defendant filed on the docket in the state-court criminal proceeding is attached as

Exhibit C. (The underlying subpoena is part of Exhibit D, further described

below.)

   3. On December 10, 2024, Defendant William J. Brock, through counsel, filed a

motion to hold the FBI “Resident Agent” in contempt for non-compliance with the

above-referenced subpoena duces tecum. Defendant failed, however, to serve the

motion on the U.S. Attorney as required by DOJ’s regulations promulgated under

Touhy v. Ragen, 340 U.S. 462 (1951). The motion for contempt obtained from the

docket, which attaches the underlying subpoena, is attached as Exhibit D.

   4. On January 9, 2025, a Show Cause Order and Notice (Exhibit B to this

Notice) was filed in Clark County Common Pleas Court, ordering the FBI “Resident
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Agent in charge” to appear in court on January 23, 2025, at 8:30 a.m. to show cause

why they should not be held in civil or criminal contempt for failure to abide by the

above-referenced subpoena. This order was not served on the U.S. Attorney or FBI.

    5. On January 22, 2025, shortly before the filing of this Notice, Defendant,

through counsel, filed a motion to continue the show cause hearing scheduled for

January 23, 2025, conceding that Defendant never perfected service. The state

court has not yet ruled on Defendant’s motion. The motion for continuance is

attached as Exhibit E.

    6. The state court has ordered the FBI “Resident Agent in charge” to show cause

in their official capacity why they did not provide information arising out of or

related to their employment with FBI. Under the Department of Justice’s “Touhy

regulations” at 28 C.F.R. §§ 16.21–16.29, however, the Agent is prohibited from

providing information absent authorization. No such authorization has been

provided. Accordingly, the Agent is prohibited from complying with the subpoena or

show cause order, and she is acting under of color of federal law in refusing to do

so. 1

    7. It is well settled that state courts have no authority to enforce subpoenas or

show cause orders against federal agencies or officials. E.g., Metcalfe v. Ultimate

Sys., Ltd., 346 F. Supp. 2d 950, 952 (N.D. Ohio 2004) (quoting Edwards v. U.S.

Dep’t of Justice, 43 F.3d 312, 316-17 (7th Cir. 1994)); United States v. Williams, 170


1 The regulations are named after the Supreme Court’s decision in United States ex. Rel.

Touhy v. Ragen, 340 U.S. 462 (1951).
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F.3d 431, 433–34 (4th Cir. 1999). The FBI and Special Agent in Charge are entitled

to have colorable federal defenses heard in the federal forum, including the Touhy

regulations, sovereign immunity, and lack of state court subject matter jurisdiction.

   8. The entire state-court criminal proceeding is not being removed to this Court,

but only the tangential proceeding related to the state court’s Show Cause Order

and Notice issued on January 9, 2025, requiring non-party FBI “Resident Agent in

charge” to show cause why they should not be held in civil or criminal contempt for

not complying with a subpoena duces tecum. 28 U.S.C. § 1442(d)(1).

   9. This proceeding is removable under 28 U.S.C. § 1442(a)(1) and 28 U.S.C. §

1442(d)(1) because the FBI Special Agent in Charge is an officer of the Federal

Bureau of Investigation, an agency of the United States, and the state court has

ordered the federal officer to show cause why they should not be held in contempt

for failing to comply with the state court subpoena. See Barnhart v. Horn, No. 2:19-

cv-4275, 2020 U.S. Dist. LEXIS 78454 (S.D. Ohio May 4, 2020).

   10. A copy of this Notice of Removal will be filed promptly with the Clark

County Court of Common Pleas to effect the removal. 28 U.S.C. § 1446(d).


                                              Respectfully submitted,

                                              KENNETH L. PARKER
                                              United States Attorney


                                              s/ Jade K. Smarda
                                              JADE K. SMARDA (0085460)
                                              Assistant United States Attorney
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                                         Elena Iatarola, Federal Bureau of
                                         Investigation




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 22, 2025, the foregoing Notice of Removal

was filed electronically using the Court’s CM/ECF system. I further certify that on

the same date a copy of this notice was served via Federal Express to Prosecuting

Attorney, Kadawni Scott, and counsel for Defendant, Jon Paul Rion, at their

addresses on file with the Court of Common Pleas, Clark County, Ohio.



                                             s/ Jade K. Smarda
                                             JADE K. SMARDA (0085460)
                                             Assistant United States Attorney




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